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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION
DYLAN PICKETT,

                  Plaintiff,
                                          Case Number: 8:22-cv-1144-CEH-AEP
      v.

DEINDE FINANCIAL, LLC,
DEINDE GROUP, LLC, and
TRANSPORTATION ALLIANCE
BANK, INC.,

                 Defendants.
______________________________________/

   NOTICE OF SETTLEMENT AS TO DEINDE FINANCIAL, LLC, AND
                    DEINDE GROUP, LLC

      COMES NOW, the Plaintiff, Dylan Pickett, to notify this court pursuant to

Local Rule 3.09 that he has reached a settlement with Defendants Deinde Financial,

LLC, and Deinde Group, LLC, only. Upon consummation of the settlement terms,

the Plaintiff will dismiss Defendants Deinde Financial, LLC, and Deinde Group,

LLC, with prejudice.

      Submitted this June 30, 2022, by:

                                                    /s/ Brandon D. Morgan
                                                    Brandon D. Morgan, Esq.
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                                                    Counsel for Plaintiff
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                           CERTIFICATE OF SERVICE

      I hereby certify that on June 30, 2022, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF. This document has been served on
Defendants’ counsel via e-mail and a CM/ECF e-service system notice sent to all
attorneys of record.

                                                     /s/ Brandon D. Morgan
                                                     Brandon D. Morgan, Esq.
                                                     Florida Bar Number: 1015954
